 Case 4:99-cr-00133-JRH-CLR Document 786 Filed 12/27/13 Page 1 of 1

                                                               F IL
                                                         US 1JiSfl
                                                          Si:. •
              IN THE UNITED  STATES DISTRICT COURT FO13C2
                  THE SOUTHERN DISTRICT OF GEORGIA                    P
                          SAVANNAH DIVISION

ERIC BERNARD HICKS,                )




        Movant,

V.                                         CASE NO. CV413-242
                                                    CR4 99-133
UNITED STATES OF AMERICA,

        Respondent.


                              ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 2) , to which objections have been

filed (Doc. 4). After a careful de novo review of the

record, the Court finds Movant's objections without merit.

Accordingly, the report and recommendation is           ADOPTED as

the Court's opinion and Movant's § 2255 motion is hereby

DISMISSED. The Clerk of Court is DIRECTED to close this

case.

        SO ORDERED this   7day of December 2013.




                              WILLIAM T. MOORE, JR.,-'
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
